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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION


RAQUEL RUTH MORENO               §
Plaintiff,                       §
                                 §
vs.                              §                        CASE NO. 7:19-cv-176
                                 §
BLUESTONE ASSET MANAGEMENT, §
LLC, RAYBEC CROSSING COURT, LLC, §                        JURY DEMANDED
AND RAYBEC CROSSING NORTH, LLC §
Defendants                       §


                          DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Defendant BLUESTONE ASSET MANAGEMENT, LLC files this Notice of Removal

pursuant to 28 U.S.C. § 1446(a) and personally shows the Court the following:

                                 I. FACTUAL BACKGROUND

1.     On or about August 19, 2016 Plaintiff executed a lease agreement leasing apartment 8 at

       1401 West Dove Avenue, McAllen, Texas 78504, beginning 18th of August 2016 ending

       at midnight on the 31st of August 2017.

2.     Plaintiff alleges that that she slipped and fell while walking the stairs to enter her Crossings

       Apartment 1401 W. Dove Ave, Apt. #8, McAllen Texas, injuring her right knee and

       sustained damages as a result. While Plaintiff has not indicated the date the alleged incident

       took place, it is the Removing Defendant Bluestone Asset Management, LLC’s belief that

       it occurred on or about April 23, 2017.

3.     Removing Defendant Bluestone Asset Management, LLC is an Illinois incorporated with

       its principal place of business is 7855 Gross Point Road, Unit F, Skokie, Illinois 60077 who

       manages Crossing Apartments located at 1401 West Dove Avenue, McAllen, Texas
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         78504. Removing Defendant Bluestone Asset Management, LLC does not have a principal

         place of business in the State of Texas.

                                      II. PROCEDURAL BACKGROUND

4.       On or about April 15, 2019, Plaintiff filed Plaintiff’s Original Petition in the matter styled

         Raquel Ruth Moreno v. Bluestone Asset Management, LLC, Raybec Crossing Court, LLC

         and Raybec Crossing North, LLC; Cause No. C-1682-19-H; In the 389th Judicial District

         Court, Hidalgo County, Texas. Defendant Bluestone Asset Management received the

         citation and petition on April 19, 2019. Defendant Bluestone Asset Management, LLC

         files this Notice of Removal within the thirty-day time period required by 28 U.S.C.

         §1446(b).

5.       Attached hereto as Exhibit “A” is the Index of Matters Being Filed. A copy of the Hidalgo

         County Clerk’s file for this case is attached as Exhibit “B”, which includes true and correct

         copies of all executed process, pleadings and orders, and a copy of Defendant’s Original

         Answer. Attached hereto as Exhibit “C” is the List of All Counsel of Record.

                                            III. BASIS FOR REMOVAL

6.       Federal jurisdiction is proper in this case because diversity jurisdiction between the parties

         exists and this removal is timely. Under 28 U.S.C. § 1441(a), "any civil action brought in

         a state court of which the district courts of the United States have original jurisdiction, may

         be removed by the defendant or the defendants, to the district court of the United States for

         the district and division embracing the place where such action is pending. " Under 28

         U.S.C. § 1332(a), district courts have "original jurisdiction of all civil actions where the

         matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs,

         and is between ... citizens of different States."


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7.       The amount alleged to be in controversy greatly exceeds $75,000.00. Plaintiff’s Original

         Petition clearly states that Plaintiff seeks “monetary relief of $100,000 or less, including

         damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees.”

         See Plaintiff’s Original Petition. This evidence clearly demonstrates that the amount in

         controversy in this case exceeds the amount required to support federal jurisdiction.

8.       The parties to this action are residents of different states for removal purposes.

9.       Plaintiff is, and was at the time the lawsuit was filed, a citizen of the State of Texas who

         resides in Hidalgo County, Texas. See, Plaintiff’s Original Petition, Exhibit B.

10.      Defendant, Bluestone Asset Management, LLC, was, and at the date of this Notice

         remains, an Illinois incorporated with its principal place of business is 7855 Gross Point

         Road, Unit F, Skokie, Illinois 60077. Removing Defendant Bluestone Asset Management,

         LLC does not have a principal place of business in the State of Texas. See, Plaintiff’s

         Original Petition, Exhibit B.

                        IV. THE REMOVAL IS PROCEDURALLY CORRECT

11.      Defendant Bluestone Asset Management, LLC was first served with the petition on April

         19, 2019. Defendant Bluestone Asset Management, LLC files this Notice of Removal

         within the 30-day time period required by 28 U.S.C. § 1446(b), after having received

         information sufficient to determine that the case was removable and being served with the

         Plaintiff’s Original Petition.

12.      Venue is proper in this district under 28 U.S.C. §1446(a) because this district and division

         embrace the place in which the removed action has been pending and because a substantial

         part of the events giving rise to the Plaintiff’s claim allegedly occurred in this district.




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13.      Pursuant to 28 U.S.C. §1446 (a), all pleadings, process, orders, and all other filings in the

         state court action are attached to this Notice.

14.      Pursuant to 28 U.S.C. §1446(d), promptly after Defendant Bluestone Asset Management,

         LLC files this Notice, written notice of the filing will be given to Plaintiff, the adverse

         party.

15.      Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of Removal will be

         filed with the Clerk of Hidalgo County, promptly after Defendant Bluestone Asset

         Management, LLC files this Notice.

                                                     V. CONCLUSION

16.        Removing Defendant Bluestone Asset Management, LLC is nonresident limited liability

           company and an Illinois incorporated with its principal place of business is 7855 Gross

           Point Road, Unit F, Skokie, Illinois 60077. For these reasons, this case has been properly

           removed to this Court from the 49th Judicial District Court of Zapata, Texas, based on

           diversity jurisdiction.

                                                      VI. PRAYER

17.        For the foregoing reasons, Defendant BLUESTONE ASSET MANGEMENT, LLC

           requests the Court remove the action to this Federal Court and place this case on the

           docket of the United States District Court for the Southern District of Texas, McAllen

           Division.




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                                                     Respectfully submitted,

                                                     BROCK ♦ GUERRA
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                                                     BY:    /s/ John A. Guerra
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                                                            Email: jguerra@brock.law


                                                     ATTORNEYS FOR DEFENDANT
                                                     BLUESTONE ASSET MANAGEMENT, LLC

                                            CERTIFICATE OF SERVICE

       I do hereby certify that on the 20th day of May, 2019, I electronically filed Defendant’s
Notice of Removal with the Clerk of Court using the CM/ECF system which will send notification
of such filing to the following:


Ricardo A. Rodriguez                                 Fax No. 956/686-5350
Attorney at Law                                      Email: rardzp@gmail.com
7001 N. 10th St., Suite 302
McAllen, Texas 78504



                                                          /s/ John A. Guerra
                                                     JOHN A. GUERRA




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